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                                             Bankruptcy Case Number: 14-18201


                                                           03088-PAE-DE-025424412




             CERTIFICATE OF DEBTOR EDUCATION

I CERTIFY that on April 23, 2015, at 9:07 o'clock PM CDT, Pasqualina Mele
completed a course on personal financial management given by internet and
telephone by Debt Education and Certification Foundation, a provider approved
pursuant to 11 U.S.C. § 111 to provide an instructional course concerning
personal financial management in the Eastern District of Pennsylvania.




Date:   April 23, 2015                       By:      /s/Doug Tonne


                                             Name: Doug Tonne


                                             Title:   Counselor
